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FISCAL PLAN FOR PUERTO RICO




San Juan, Puerto Rico
March 13, 2017
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 What the Government’s Proposed Fiscal Plan Seeks to Achieve

 Closing the Projected Baseline Fiscal Plan Deficit
 •   At the direction of the Oversight Board, the Government’s new administration has prepared this Fiscal Plan which supersedes the prior
     administration’s December 2016 fiscal plan that was rejected by the Board. From the date the new administration took office, AAFAF and
     its advisors have earnestly worked in cooperation with the Board’s input to put forth a credible and reliable Fiscal Plan that will guide
     Puerto Rico’s fiscal and economic recovery
 •   The Fiscal Plan commits to fiscal responsibility and implements specific revenue enhancements and targeted expenditure reductions to
     return Puerto Rico to fiscal stability and economic growth. In particular, the Fiscal Plan averts the $67bn fiscal deficit from the prior
     administration’s plan and achieves +$7.9bn in cumulative cash flow available for debt service through the 10 year period

 Further Improvement
 •   The Government fully appreciates that despite fiscal and economic uncertainties, now is the time to set the benchmark for the needed
     fiscal and economic measures as outlined in the Fiscal Plan. The Government is demonstrating its commitment to correcting the mistakes
     of the past. The Government is also mindful that in stopping the cycle of deficit spending, it must do so without undermining economic
     recovery or endangering the health, welfare or safety of the 3.5 million US citizens living in Puerto Rico

 Bondholder Negotiations and Consensus

 •   Per PROMESA Section 2.01(b)(1)(I), the fiscal plan must provide a debt sustainability analysis. The Government’s Fiscal Plan consolidates
     available cash resources that can be made available for debt service payments. The Fiscal Plan as proposed does not presume cash flow for
     debt service for any particular bondholder constituency, including clawed back cash and special revenues, nor does it take a position with
     respect to asserted constitutional or contractual rights and remedies, validity of any bond structure, or the dedication or application of tax
     streams / available resources
 •   The Government believes that any fiscal plan should reflect commitment to develop and implement operational and structural
     improvements that demonstrate the Government’s willingness to achieve maximum payment of its debt obligations as restructured.
     However, in achieving debt sustainability, Puerto Rico’s bondholders will be called upon to share in the sacrifice needed for a feasible debt
     restructuring. The Government believes communication, grounded in fiscal responsibility, can create the opportunity for maximum
     consensus among stakeholders and pave the way for Puerto Rico’s long-term fiscal stability and economic growth




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 What the Fiscal Plan does not determine


 Major Entities Impacted by the Fiscal Plan
 • The Fiscal Plan is for the Government as a covered entity under PROMESA. The Government's various taxes, fees and other revenues are
    used to fund, subsidize or guarantee payments of the debt of many covered entities by various means. Accordingly, this Fiscal Plan does
    provide for payment of expenses and capital investments in, among other covered entities: (1) Public Building Authority, (2) PR Sales Tax
    Financing Corporation (“COFINA”), (3) PR Highways and Transportation Authority (“HTA”), (4) PR Convention Center District Authority
    (“PRCCDA”), (5) PR Infrastructure Finance Authority (“PRIFA”), (6) Employees' Retirement System (“ERS”), (7) University of Puerto Rico
    (“UPR”), (8) Puerto Rico Industrial Development Company (“PRIDCO”), and (9) Government Development Bank (“GDB”)

 Major Entities Not Covered by the Fiscal Plan
 •   There are four entities whose revenues and expenses are not included in this Fiscal Plan: (1) Puerto Rico Electric Power Authority
     (“PREPA”), (2) Puerto Rico Aqueduct and Sewer Authority (“PRASA”), (3) The Children's Trust Fund and (4) Puerto Rico Housing Finance
     Authority (“PRHFA”). As a result, this Fiscal Plan does not take a position with respect to these entities’ financial prospects or the debt
     sustainability of such entities

 Legal & contractual issues not determined by the Fiscal Plan
 The Fiscal Plan does not attempt to resolve, among others, the following issues:
 •   The mechanisms by which projected cash flow available for debt service should be allocated to different debt instruments
 •   What is an essential service for purposes of the exercise of the Government's police power
 •   The scope, timing or specific use of revenues to be frozen or redirected as 'claw back' revenue
 •   The value, validity and /or perfection of pledges
 •   Whether any particular bond or debt issuance may have been improvidently issued
 •   What the Government is permitted to accomplish through the increase or decrease of dedicated taxes, fees, tolls or other revenue
     sources




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II. FINANCIAL PROJECTIONS




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 The Government will undertake fiscal measures that will reduce the fiscal gap by $39.6B, and
 create a 10 year cash flow surplus of $7.9B

 § Based on the currently stated debt obligations, the 10-year budget gap is expected to reach $66.9B
     – ~$35.1B of expected principal and interest payments during the forecast period


 § The Fiscal Plan estimates cash flows available for debt service. The chart below shows the key components of the forecast, including:
     – Base fiscal gap of $66.8B which includes full cost of debt service and does not include the impact of revenue and expense measures
     – Revenue and expense measures of $13.9B and $25.7B1
              § Revenue Measures: stabilizing corporate tax revenue through tax reform positively affects cash flows by $7.9B
              § Expense Measures: $19.2B of $25.7B (79%) due to Government right-sizing initiatives2




  ($MM)
                                                                                                                                          +39,580
         Accumulated ACA funding
              loss of $16.1B                                                                                                                                                    7,873

                                                                                                                                                               25,683

                                                                                                                         13,897
                                                                                    -31,708
                                                     35,129

              -66,836
         Base Financial                               Debt             Cash Flow pre-Measures                          Revenue                              Expense          Cash Flows
                                                             3
          Cash Flows                                 Service                                                           Measures                             Measures        Post Measures
                                                                                                                                                                        Excluding Debt Service

   1 See Section IV, Fiscal Reform Measures for full detail      3 Includes $1,415 of past due P&I (Aug 1, 2015 to July 1, 2016), and $277 in Other Adjustments.
                                                                                                                                                                                        8
   2 See government right-sizing section
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 The current fiscal plan is a significant departure from the version presented in October, as it
 commits to higher revenue and expense measures of $4.4B and $16.4 B, respectively
 § The October proposed Fiscal Plan estimated negative cumulative cash flows pre-debt service over the projection period (’17-’26) of ($4.9B)
   vs. the Current Fiscal Plan projections estimating positive cumulative cash flows pre-debt service of $7.92B. The change is comprised
   primarily of:
         – Negative net impact on cash flows available for debt service, pre-Measures of -$8.0B
                  • Decrease in total revenues of $1.7B
                  • Decreased expenses of $6.3B
         – Enhanced revenue measures of $4.4B
         – Additional savings from Expense Measures of $16.4B




 ($MM)
                                                                                                                                 7,873



                                                                                                        16,427

         -4,947                   1,658
                                                          6,301                  4,352

   October Fiscal Plan          Changes to             Changes to              Revenue                 Expense                Cash Flows
    cum. Cash Flows          Revenue Baseline       Expenses Baseline          Measures                Measures              Post Measures
    pre Debt Service                                                                                                     Excluding Debt Service




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 A summary of financials for the 10-year projection period shows positive cash flows post-
 measures, before debt service of $7.9B

 ($MM)

Fiscal year ending June 30 ($ in millions)                                          2017             2018              2019          2020        2021        2022        2023        2024        2025        2026        '17 - '26 total

PR Nominal GNP Growth                                                                  (2.2%)           (2.8%)           (2.4%)        (0.5%)      (0.4%)       0.3%        1.0%        1.6%        2.1%        2.6%
        Revenues before Measures 1                                                  $18,952          $17,511          $16,407        $16,434     $16,494     $16,590     $16,746     $16,953     $17,204     $17,509          $170,799
        Noninterest Exp. before Measures 1                                         ($17,872)        ($18,981)        ($19,233)       ($19,512)   ($19,950)   ($20,477)   ($20,884)   ($21,310)   ($21,973)   ($22,316)       ($202,507)
         Cash flows pre-Measures                                                     $1,080           ($1,470)         ($2,826)       ($3,077)    ($3,456)    ($3,886)    ($4,139)    ($4,357)    ($4,769)    ($4,807)        ($31,708)
Measures
Revenue measures                                                                             --            924            1,381        1,384       1,531       1,633       1,740       1,752       1,766       1,785          13,897.1
Expense measures                                                                             --            951            2,012        2,415       2,983       3,156       3,255       3,357       3,724       3,830          25,683.3
 Net impact of measures                                                                      --         1,875             3,393        3,799       4,515       4,789       4,995       5,108       5,491       5,615            39,580
        Cash flows post-Measures, before Debt Service                                $1,080              $404                 $567      $722      $1,059        $903        $857        $751        $722        $808            $7,873


 Cash flows post-measures, before debt service trends:
 § FY 2017 estimate of $1.1B, declining to a low of $0.4B in FY 2018, driven by GNP contraction and ERS Paygo contributions of $1.0B in FY
   2018
 § Forecast peaks at $1.1B in FY 2021 before declining to $0.8B by FY 2026. Decline is primarily driven by Affordable Care Act (“ACA”) funding
   expiration that increase steadily from ~$0.9B in FY 2018 to ~$2.4B in FY 2026
 § Expense measures include $1.3B in supplier payment pay downs through the projection period




    1    Full details in Appendix
                                                                                                                                                                                                                              10
    2    This addback is illustrative, and is not reflected in the amounts available for debt service elswhere in this Plan
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 Revenues Before Measures

 ($MM)

Fiscal year ending June 30 ($ in millions)      2017       2018       2019       2020       2021       2022       2023       2024       2025       2026       '17 - '26 total

PR Nominal GNP Growth                            (2.2%)     (2.8%)     (2.4%)     (0.5%)     (0.4%)      0.3%       1.0%       1.6%       2.1%       2.6%
Revenues
General Fund Revenues:
Individual Income Taxes                          $1,892     $1,760     $1,718     $1,709     $1,703     $1,708     $1,725     $1,752     $1,789     $1,836          $17,592
Corporate Income Taxes                            1,515      1,473      1,437      1,430      1,424      1,429      1,443      1,466      1,497      1,536           14,649
Non-Resident Withholdings                           685        666        650        647        644        646        652        663        677        694            6,624
Alcoholic Beverages                                 268        260        254        253        252        253        255        259        265        272            2,591
Cigarettes                                          112        109        106        106        105        106        107        108        111        114            1,083
Motor Vehicles                                      330        321        313        311        310        311        314        319        326        335            3,191
Excises on Off-Shore Shipment Rum                   206        173        175        176        178        179        180        182        183        184            1,816
Other General Fund Revenue                          391        386        377        375        373        374        378        384        392        402            3,833
 Total                                            5,399      5,148      5,030      5,007      4,989      5,005      5,055      5,134      5,239      5,372           51,378
General Fund Portion of SUT (10.5%)               1,718      1,655      1,596      1,553      1,511      1,484      1,472      1,474      1,487      1,512           15,463
Net Act 154                                       2,075      1,556      1,038      1,038      1,038      1,038      1,038      1,038      1,038      1,038           11,931
   General Fund Revenue                          $9,192     $8,360     $7,664     $7,598     $7,538     $7,527     $7,565     $7,646     $7,764     $7,921          $78,773
Additional SUT (COFINA, FAM & Cine)                 850        877        906        936        968      1,003      1,039      1,078      1,118      1,161            9,936
Other Tax Revenues                                1,337      1,396      1,401      1,411      1,423      1,429      1,436      1,445      1,455      1,467           14,199
Other Non-Tax Revenues                              579        576        582        594        622        630        635        642        649        666            6,174
   Adj. Revenue before Measures                 $11,958    $11,208    $10,552    $10,539    $10,550    $10,588    $10,675    $10,810    $10,986    $11,215         $109,082
Federal Transfers                                 6,994      7,168      7,372      7,477      7,623      7,835      8,023      8,212      8,469      8,675            77,847
Loss of Affordable Care Act ("ACA") Funding           --      (865)    (1,516)    (1,582)    (1,680)    (1,833)    (1,953)    (2,069)    (2,251)    (2,382)          (16,130)
     Revenues before Measures                   $18,952    $17,511    $16,407    $16,434    $16,494    $16,590    $16,746    $16,953    $17,204    $17,509         $170,799




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 Non-Interest Expenses Before Measures

 ($MM)

Fiscal year ending June 30 ($ in millions)         2017        2018        2019        2020        2021        2022        2023        2024        2025        2026        '17 - '26 total

Expenses
General Fund Expenditures:
Direct Payroll                                      ($3,271)    ($3,309)    ($3,342)    ($3,375)    ($3,413)    ($3,458)    ($3,509)    ($3,563)    ($3,619)    ($3,675)        ($34,532)
Direct Operational Expenses                            (907)       (918)       (926)       (936)       (946)       (959)       (973)       (988)     (1,003)     (1,019)          (9,574)
Utilities                                              (260)       (332)       (352)       (360)       (373)       (372)       (369)       (374)       (387)       (395)          (3,575)
Special Appropriations                               (3,890)     (4,037)     (4,068)     (4,068)     (4,209)     (4,140)     (4,143)     (4,136)     (4,250)     (4,147)         (41,087)
 General Fund Expenses                               (8,329)     (8,596)     (8,688)     (8,738)     (8,941)     (8,929)     (8,993)     (9,060)     (9,259)     (9,236)          (88,768)
Other:
Paygo Contributions in Excess of Asset Balance            --       (989)     (1,014)       (985)       (964)     (1,151)     (1,177)     (1,217)     (1,251)     (1,278)          (10,026)
Run-Rate Capital Expenditures                          (283)       (400)       (407)       (415)       (422)       (429)       (437)       (445)       (453)       (462)           (4,154)
 Total other                                           (283)     (1,389)     (1,421)     (1,400)     (1,386)     (1,581)     (1,614)     (1,662)     (1,704)     (1,739)          (14,180)
Component Units, Non-GF Funds and Ent. Funds:
Net Deficit of Special Revenue Funds                   (110)       (130)       (146)       (154)       (162)       (169)       (173)       (176)       (176)       (174)           (1,571)
Independently Forecasted Non-Enterprise CUs            (452)       (380)       (433)       (558)       (639)       (752)       (859)       (963)     (1,109)     (1,210)           (7,356)
HTA Operational Expenses                               (246)       (234)       (236)       (238)       (239)       (243)       (246)       (250)       (254)       (258)           (2,444)
Other                                                   (44)        (41)        (30)        (30)        (30)        (31)        (31)        (32)        (32)        (33)             (335)
 Total                                                 (853)       (785)       (845)       (980)     (1,071)     (1,194)     (1,310)     (1,420)     (1,572)     (1,675)          (11,705)
Disbur. of Tax Revenues to Entities Outside Plan       (335)       (302)       (304)       (307)       (313)       (314)       (316)       (319)       (322)       (334)           (3,168)
   Adj. Expenses before Measures                    ($9,800)   ($11,071)   ($11,259)   ($11,425)   ($11,712)   ($12,018)   ($12,234)   ($12,461)   ($12,857)   ($12,984)       ($117,822)
Federal Programs                                     (6,994)     (7,168)     (7,372)     (7,477)     (7,623)     (7,835)     (8,023)     (8,212)     (8,469)     (8,675)          (77,847)
Reconciliation Adjustment                              (585)       (592)       (598)       (604)       (610)       (618)       (627)       (637)       (647)       (657)           (6,175)
Other non-recurring                                    (493)       (150)         (5)         (5)         (5)         (5)          --          --          --          --             (663)
 Total                                               (8,072)     (7,910)     (7,975)     (8,086)     (8,238)     (8,458)     (8,650)     (8,849)     (9,116)     (9,332)          (84,685)
     Noninterest Exp. before Measures              ($17,872)   ($18,981)   ($19,233)   ($19,512)   ($19,950)   ($20,477)   ($20,884)   ($21,310)   ($21,973)   ($22,316)       ($202,507)




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 Assumptions and Methodology: Revenue
                                                                  ‘17 Revenue        ‘26 Revenue
Category                Description                                   $MM                $MM           2017 – 2026 Growth Methodology

 1 Taxes                •   Individual Income Taxes                                                    •   Grows with PR Nominal GNP Growth Factor
                        •   Corporate Income Taxes                                                     •   Excludes corporate tax reform and compliance impact
                                                                           3,407               3,371       which is included within fiscal measure reform analyses




 2 Other                •   General Fund                                                               •   Grows with PR Nominal GNP Growth Factor
    General Fund
    Revenue                                                          391                 402



 3 Act 154              •   Act 154                                                                    •   Act 154 revenue is sustained at 2017 levels until 2026
                        •   Act 154 / Foreign Company Tax                                              •   Losses equal (519) in 2018, double in 2019, and sustained
                            Losses                                       2,075            1,038            at 2019 levels




 4 SUT                  •   General Fund Portion of SUT (10.5%)                                        •   Total SUT grown at PR Nominal GNP growth
                        •   Additional SUT (COFINA, FAM, &                                             •   Allocation proportions grow at historical levels
                            Cine)                                        2,568              2,673



 5 ACA Loss             •   Loss of Affordable Care Act (“ACA”)                                        •   Initial decrease from (865) in 2018 to (1,516) in 2019
                            Funding                                                                    •   Annual growth in loss of 6.7% from 2019 to 2026
                                                                     0      -2,382



 6 Component            •   Other Tax Revenues                                                         •   Grows with PR Nominal GNP Growth Factor & Elasticity
    Units               •   Other Non-Tax Revenues
                                                                         1,916             2,132


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 Assumptions and Methodology: Expenses (1/2)
                                                                   2017                2026
Category                Description                                $MM                 $MM         2017 – 2016 Growth Methodology
                                                                                                   •   Growth based on previous year multiplied by PR Inflation
 1 Direct Payroll   •     Payroll and Operational Expenses                                             and Inflation pass-through to payroll
                    •     Education Payroll
                    •     Police Payroll
                                                               -3,271              -3,675



 2 Direct           •     Legislature                                                              •   Growth based on previous year multiplied by PR Inflation
    Operational     •     Department of Education                                                      and Inflation pass-through to payroll
                    •     Other Agencies                                -907            -1,019
    Expenses


 3 Utilities        •     Power and Water                                                          •   PBA Operating Subsidy maintains
                    •     PBA Operating Subsidy (Rent)                                             •   Power and water have initial increase due to subsidy
                    •     Insurance Premiums                            -260                -396       reduction with steady year-over-year growth until 2026




 4 Special         •      UPR                                                                      •   UPR, Judicial and Municipalities increase in 2018, maintain
    Appropriations •      Judicial and Municipalities                                                  steady-state following initial growth
                   •      Retirement Systems                   -3,890              -4,147
                   •      Health Insurance



 5 Paygo            •     Required Pay-go contribution: ERS,                                       •   Paygo program for ERS, TRS and JRS is initiated in 2018
                          TRS and JRS                                                                  with initial expenses of $989MM
    Contributions                                                                      -1,278
                                                                               0                   •   Steady growth in expenses starting in 2020
    in Excess of
    Asset Balance

 6 Run-Rate         •     Non-Growth Capital Expenditures in                                       •   Initial increase in 2018 to $400MM and steady growth in
                          the Base (Run-Rate)                                                          following years based on previous year multiplied by PR
    Capital                                                             -284                -462
                    •     Growth Capex                                                                 Inflation following
    Expenditures


                                                                                                                                                          14
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 Assumptions and Methodology: Expenses (2/2)
                                                                 2017       2026
Category                Description                              $MM        $MM         2017 – 2026 Growth Methodology

 7 Reconciliation   •     Reconciliation Adjustment                                     •   Initial increase in 2018 to $592MM with steady increase
                                                                                            until 2026
   Adjustment                                                      -585      -657       •   Reconciliation adjustment based on midrange estimate
                                                                                            provided by E&Y analysis and audit


 8 Other Non-       •     Payment of Past-Due Tax Refunds                               •   Initial decline in tax refunds in 2018 from $493MM to
   Recurring        •     Transition and restructuring costs                                $150MM, decline in 2019 from $150MM to $5MM, and
                                                                   -493             0       elimination of non-recurring expenses in 2023
                                                                                        •   Costs to implement restructuring ($370MM over 10 years)




 9 Component        •     Net Deficit of Special Revenue Funds                          •   Net Deficit of Special Revenue Funds growth is based
                    •     Independently forecasted non-            -853   -1,675            on previous year multiplied by PR Inflation
   Units
                          enterprise                                                    •   Non-enterprise expenses include ASEM, ASES, ADEA,
                    •     HTA Operational Expenses                                          PRCCDA, PRIDCO, PRITA, Tourism, and UPR deficits
                                                                                        •   PBA and the Port Authority run a surplus in 2017 that
                                                                                            transitions towards deficit beginning in 2018
                                                                                        •   Initial HTA decline in expenses due to a reduction in
                                                                                            Past Due AP costs




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 Assumptions and Methodology: Macroeconomic Factors

Category            Description, %                                                            2017 – 2026 Growth Methodology

 1   PR Nominal                                                          1.6    2.1    2.6    • Initial decrease to 97.2% in 2019
                                                                  1.0
     GNP Growth                                            0.3                                • Increase in 2020 to 99.5%
     Factor                                  -0.5   -0.4                                      • Steady, minimal growth until 2026
                        -2.2   -2.8   -2.4


 2   PR Inflation                                                                             • Initial negative inflation of -0.2% in 2017
                               1.2    1.0    1.0    1.1    1.3    1.5    1.5    1.6    1.6
                                                                                                 increasing to 1.2% in 2018, 1.0% in 2019 with
                        -0.2                                                                     steady, minimal growth in Inflation until 2026



 3   PR                                                                                       • Maintenance of 2017 PR Population Growth
     Population                                                                                  Factor of 99.8%
     Growth             -0.2   -0.2   -0.2   -0.2   -0.2   -0.2   -0.2   -0.2   -0.2   -0.2
     Factor


 4   US                                                                                       • Maintenance of 2017 US Population Growth of
     Population         0.8    0.8    0.8    0.8    0.8    0.8    0.8    0.7    0.7    0.7       100.8% until 2024, where it drops to 100.7%
     Growth
                        2017   2018   2019   2020   2021   2022   2023   2024   2025   2026




                                                                                                                                              16
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III. FISCAL REFORM MEASURES




                                                                                       17
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 Fiscal Reform measures reduce the 10-year financing gap by $39.6B
Estimated Impact, $MM

                                     2018         2019         2020         2021          2022         2023         2024         2025     2026    10-year Total

           Revenue
   A                                                                                      1,633        1,740        1,752         1,766   1,785
           Enhancement                             1,381        1,384        1,531
                                       924                                                                                                           13,897




                                                                                          2,543        2,597        2,651         2,706   2,758
          Government                                            2,094        2,414
   B                                               1,713
          Right-sizing
                                       851                                                                                                           20,329




          Reducing
   C      Healthcare                                                          750          795          842          892          945     1,001
                                                    299          500                                                                                  6,123
          Spending                     100




          Pension
   D
          Reform
                                        0            0            83           81           80           78           76           73      70         541




                                                                                                                                 5,491    5,615   Excludes $1,310MM in
                                                                                          5,051        5,257        5,370
                                                                             4,777                                                                 supplier pay downs
            TOTAL                                               4,061
                                                   3,393
                                      1,875                                                                                                          40,890




       Note: Values may not add up due to rounding; Excludes expenditures related to rehabilitation of trade terms with local suppliers                           18
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REVENUE ENHANCEMENT
                                             Exhibit A to the Statement Page 20 of 39
 Hacienda will embark in a multi-year transformation process to reduce leakage, improve
 revenue collections and adjust fees
Revenue Enhancement Measures, $MM
                                                                                                            1,633         1,740         1,752         1,766         1,785
                                                         1,381            1,384               1,531
  Adjust Taxes and Fees                                                                               291           292           294           299           305           313
                                        924                       293              292                              404           408           415           424           435
  Tax Compliance                                255               300              405                403
                                                150      788                                  838           938           1,038         1,038         1,038         1,038
  Corporate Tax Reform                  519                                688
                                       2018              2019             2020                2021          2022          2023          2024          2025          2026


Reform Measures                    Description                                                                                                                2018 Impact
                                    § The Government will use the breathing room provided by the extension of Act 154 to seek a
     Corporate Tax                    more stable, consistent corporate tax policy that implements a broad-based regime with
     Reform                           fewer exemptions by no later than January 2019                                                                           $519MM




                                    § Reduce leakage by increasing electronic SUT tax collections at the point of sale, including
                                      internet sales                                                                                                           $150MM
     Tax Compliance
                                    § Improve revenue collections by using advanced analytics, expanding capacity and conducting
                                      targeted interventions


                                    § Increase tobacco-related products excise tax and implement new property tax regime
     Adjust Taxes and                                                                                                                                          $255MM
                                    § Revise fees including licenses, traffic fines, insurance fees and other charges for services to
     Fees
                                      keep up with market trends




     Note: To meet fiscal plan objectives, the Government may consider additional measures.                                                                           19
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                                                                               05/03/17 Page  21 of 39Desc:
GOVERNMENT RIGHT-SIZING
                                              Exhibit A to the Statement Page 21 of 39
 The Government must embark on a transformative journey in order to provide core services to
 citizens in an efficient and fiscally responsible manner
Government Right-Sizing Measures1, $MM
                                                                                                                2,543             2,597             2,651             2,706                2,758
                                                                                              2,414
                                                                            2,094                                                                                                          832
  Personnel Related                                       1,713                                695               785               796               808              820
                                                 250                                 602
  Non-Personnel Related                  851     190                505                        819               830               842               855              868                  882
                                                                    459              668
  Reduction of Subsidies                         411       750               825               900               929               960               989              1,018                1,044
                                        2018              2019              2020              2021              2022              2023              2024              2025                 2026


Reform Measures                     Description                                                                                                                                 2018 Impact
                                    § Freeze on payroll increases for fiscal years 2018 to 2020
                                    § Improve employee mobilization across government, uniform fringe benefits and eliminate
     Personnel Related                                                                                                                                                            $250MM
                                      vacation and sick day liquidations to produce higher attrition rates or other payroll-related
                                      savings


                                    § Freeze on operational cost increases for fiscal years 2018 to 2020
     Non-Personnel                  § Re-design the way the Government works by reducing non-core expenses, externalizing                                                         $190MM
     Related                          services to private entities, centralizing services to eliminate duplication, achieve procurement
                                      savings or other cost-cutting measures


                                    § Gradually reduce general fund subsidies to the University of Puerto Rico, municipalities and
     Reduction of                     other direct subsidies to the private sector
                                                                                                                                                                                  $411MM
     Subsidies                      § Proactively engage with the University of Puerto Rico, municipalities, as well as industry
                                      partners, to mitigate the economic development impact of subsidy removal




     Note: To meet fiscal plan objectives, the Government may consider additional measures.                                                                                                  20
     1) Post 2018, the relative distribution of savings between personnel and non-personnel related expenses will be decided as part of updates to the Fiscal Plan and the annual budget
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REDUCING HEALTHCARE SPENDING
                                               Exhibit A to the Statement Page 22 of 39
 The Government will focus on improving efficiencies, adjusting benefits and developing a new
 healthcare model in order to achieve savings in healthcare spend
Reducing Healthcare Spending Measures, $MM
                                                                                                                      892          945         1,001
  Modify Benefits Package
                                                                  45                          750    795    842
  Reduce Drug Cost                              38                60       500
  Improve Payment Integrity                     25       299      84                                 795    842       892          945         1,001
                                        100                                                   750
  Pay for Value                                 38                110      500
  New Healthcare Model                 2018              2019             2020                2021   2022   2023      2024         2025        2026


Reform Measures                    Description                                                                                            2018 Impact
                                    § Establish uniformed fee schedules and limit reimbursement rates for providers

     Pay for Value                  § Replace current profit sharing arrangement with MCOs and replace with a Medical Loss Ratio            $38MM



                                    § Establish partnerships to increase the scrutiny of premium payments for beneficiaries that
     Improve Payment                  have left the system or have another health insurance plan
                                                                                                                                            $25MM
     Integrity                      § Establish Medicaid Fraud Control Unit and implement the Medicaid Management Information
                                      System to reduce waste, fraud and abuse

                                   § Reduce outpatient drug spending by increase pharmacy discounts on branded drugs, enforce
                                     mandatory dispensing of generic drugs, updating the preferred formulary and establishing
     Reduce Drug Cost                                                                                                                       $38MM
                                     shared-savings initiatives


                                    § Evaluate services that could be capped and/or eliminated from the current benefit package               $0
     Modify Benefits                  without adversely affecting access for Mi Salud beneficiaries
     Package


                                    § Develop a new healthcare model in which the Government pays for basic, less costly benefits             $0
     New Healthcare                   and the patient pays for premium services selected resulting in cost reductions attributed to
     Model                            greater competition along with the capped PMPM amount


     Note: To meet fiscal plan objectives, the Government may consider additional measures.                                                        21
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PENSION REFORM
                                                  Exhibit A to the Statement Page 23 of 39
 Segmentation of the defined contribution structure will protect the retirement savings of
 government employees
Pension Reform Measures, $MM
                                                                               83             81     80     78        76          73         70
                                                                               37             36     33     31        28          24         21
  Changes to Special Laws
  Changes to Pension Benefits                 0                0               45             46     47     47        48          49         50

                                            2018             2019             2020            2021   2022   2023     2024        2025       2026


Reform Measures                     Initiative                                                                                          2018 Impact
                                    § Switch to pay-as-you-go model, segregate prospective employee contributions, facilitate
     Contribution                     Social Security enrollment and improve investment alternatives                                        $0
     Segregation and New
     Benefit Plans


                                    § Protect benefits for lowest pension income earners. Progressive strategy to reduce retirement
                                                                                                                                            $0
   Adjust Retirement                  benefit costs including other post-employment benefits.
   Benefits




     Note: To meet fiscal plan objectives, the Government may consider additional measures.                                                   22
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IV. STRUCTURAL REFORMS




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STRUCTURAL REFORM MEASURES
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 Implementing the package of structural reforms will provide a cumulative 2.0% increase in GNP
 growth
    1       Improve Ease of Business Activity          2           Improve Capital Efficiency                3                 Energy Reform


    1a    Increase Labor Participation                 2a    Infrastructure Reform                           3a    Energy Reform
         § Institute public policy measures aimed to        § Augmenting competitiveness by                       § Leverage and facilitate expedited private
            attract new businesses, create new                 investing in critical infrastructure and              sector investments in modern, cost-
            employment opportunities, and foster               quality of public services in roads, ports,           efficient, and environmentally compliant
            private sector employment growth to                telecommunications, water and waste,                  energy infrastructure; reform PREPA
            increase labor demand                              knowledge services, and other                         operations and services to clients; and
         § Change welfare and labor incentives to              strategically important sectors                       allow for greater competition in energy
            encourage greater sector participation                                                                   generation
            thus increasing labor supply               2b    Public-Private Partnerships
                                                            § Leverage key public assets through long
    1b    Permitting Process Reform                            term concessions to optimize quality of
                                                                                                             4      Promoting Economic Development
         § Centralize, streamline, and modernize               public infrastructure, services to public
            and expedite permitting processes;                 and sustainable operations and                4a Enterprise Puerto Rico
            increase business friendly environmental           maintenance
            and economic growth                                                                                   § Promote productivity growth, attract FDI
                                                       2c    Critical Projects                                       & incentivize investments in technology
                                                            § Implement management system to boost                   through collaboration with the private
    1c    Tax Reform                                                                                                 sector
                                                               development of critical projects through
         § Lower marginal tax rates and broaden the            expedited processes
            tax base; simplify and optimize the
            existing tax code to achieve gains in                                                            4b Destination Marketing Organization
            efficiency, ease of doing business and                                                                § Externalize the overseeing of marketing
            reducing tax evasion                                                                                     efforts & continuity under a single brand
                                                                                                                     and as a unified front representing all of
    1d    Regulatory Reform                                                                                          Puerto Rico’s tourism components
         § Reduce unnecessary regulatory burdens
            to reduce the drag of government on the
            private sector


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INFRASTRUCTURE / P3 REFORMCase   3:17-cv-01578-LTS
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 The initial stage of the P3 program includes launching of ~$5B of projects during the 2017-2019
 calendar years that have been identified and are in project preparation
P3 Project Identification       Key Considerations in the Overall P3 Implementation                                   P3 Key Target Areas %
§ Identified initial list of   § Project sequencing is designed to effectively progress the advancement of                           Water Other
  priority projects with P3      projects and avoid major obstacles in the shortest timeline possible (i.e.,                        80
  potential                      progression from easily executable/advanced permitting to more difficult/less  Waste mgmt
                                                                                                                               20
§ Assessed project business      advanced projects)                                                                                        43 Energy
  cases and impacts on         § Need to promote and improve funding models to use private funds, where
  priority infrastructure        relevant, as leverage to maximize the unused federal funds current available                  7
  needs, the economy, and                                                                                        Social infra
  efficient delivery of public                                                                                                      22
  services                                                                                                                   Transport
§ Split into 3 groups based
  on projected sequencing,
  designed to launch in
                                              10-Year Impact                      à Capital Improvement Investment: ~$5B | Jobs Created: ~100,000
  2017, 2018 and 2019
                                               2017                                       2018                                      2019
                               Q-17      Q2-17      Q3-17      Q4-17      Q1-18     Q2-18      Q3-18      Q4-18      Q1-19     Q2-19     Q3-19     Q4-19

          Group 1              • Launch Group 1 Projects
          Projects             • Estimated value ~$1B



          Group 2              • Invest in preparing Group 2              • Launch Group 2 Projects
          Projects             • Data gathering, due diligence, etc.      • Estimated value ~$2B


          Group 3                                • Invest heavily in preparing Group 3                              • Launch Group 3 Projects
          Projects                               • Data gathering, due diligence, etc.                              • Estimated value $2B

                                                 (Project timeline includes P3 concessions included in Externalization measures)




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V. DEBT SUSTAINABILITY ANALYSIS




                                                                                       26
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DEBT SUBSTAINABILITY
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 Debt summary
   § Below is a summary of the debt (excluding pension liabilities) considered in the fiscal plan
   § Note: Amounts are estimated as of February 2017 and based upon preliminary unaudited numbers provided to AAFAF by issuer agencies and from
     publicly available information. On behalf of the Board, Ernst & Young is conducting an assessment of the debt outstanding to confirm these figures.
     Estimated amounts are subject to further review and may change
  Summary of debt outstanding as of February 2017 ($MM)
                                                                                     Unpaid                       Total Bonds &      Loans from          Total Debt       DSRF
              Issuers included in Fiscal Plan         Bond principal    CAB           P&I1        Private Loans   Private loans    GDB/MFA Entities    Service FY 17-19   Balance

              GO                                            $12,013          $84        $1,146             $24          $13,267               $169               $3,284          --
              COFINA                                         11,425        6,155             --              --          17,580                   --              2,121          --
              HTA2                                            3,983          135             6               --           4,124               1,734                 997        101
              PBA                                             3,980            --          117               --           4,097                 182                 782          6
              GDB3, 4                                         3,182            --          742             203            4,126                   --             1,863           --
              ERS                                             2,658          498             --              --           3,156                   --               500          44
              PRIFA5                                          1,566          409           232               --           2,207                  49                464           2
              PFC                                             1,025            --          172               --           1,197                   --               257           --
              UPR6                                              496            --            --              0              496                  76                145          61
              PRCCDA                                            386            --            --              --             386                 145                 91           9
              PRIDCO                                            145           11             --              --             156                  78                 54          19
              AMA                                                 --           --            --             28               28                   --                 --          --
              Other Central Gov't Entities                      197            --           29             413              639               3,975                  --          --
               Total                                        $41,056       $7,293        $2,444            $668          $51,461              $6,409            $10,558        $242
              Debt Issuers not incl. in Fiscal Plan
              PREPA                                           8,259            --            --            697            8,956                   36             2,775           6
              PRASA7                                          3,943           28            13             584            4,568                 229                995          93
              Children's Trust                                  847          613             --              --           1,460                   --               140          85
              HFA                                               542            --            --              --             542                  85                134          33
              PRIICO                                              --           --            --             98               98                   --                 --          --
              Municipality Related Debt8                        556            --            --          1,140            1,696               2,036                n.a.         59
                Total                                       $14,147         $641           $13          $2,520          $17,320              $2,386             $4,044        $276
                  Total                                     $55,203       $7,933        $2,457          $3,188          $68,781              $8,795            $14,602        $518
              Less: GDB Bonds (excl. TDF)                                                                                (3,766)
              Plus: Loans from GDB/MFA Entities                                                                           8,795
              Public Sector Debt                                                                                        $73,810
              Notes:
              1) Unpaid principal and interest includes debt service that has been paid by insurers and is owed by the government
              2) HTA includes Teodoro Moscoso bonds
              3) GDB private loans includes Tourism Development Fund ("TDF") guarantees
              4) Includes GDB Senior Guaranteed Notes Series 2013-B1 ("CFSE")
              5) PRIFA includes PRIFA Rum bonds, PRIFA Petroleum Products Excise Tax BANs, PRIFA Port Authority bonds and $34.9m of PRIFA ASSMCA bonds
              6) UPR includes $64.2m of AFICA Desarrollos Universitarios University Plaza Project bonds
              7) PRASA bonds includes Revenue Bonds, Rural Development Bonds, Guaranteed 2008 Ref Bonds
              8) Municipality Related Debt includes AFICA Guyanabo Municipal Government Center and Guaynabo Warehouse for Emergencies bonds

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DEBT SUBSTAINABILITY
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 Debt Service Schedule

   The table below summarizes the annual debt service through FY 2026 for all issuers included in the fiscal plan
         FY 2017 – FY 2026 debt service ($MM)
         Fiscal year ending June 30,             2017       2018       2019       2020       2021       2022       2023       2024       2025       2026

         Cash Interest
         GO                                         $733       $714       $699       $680       $658       $641       $621       $597       $571       $545
         PBA                                         186        186        183        179        175        169        163        157        151        145
         COFINA                                      686        685        684        697        709        703        696        688        680        671
         HTA1                                        206        201        194        188        182        175        167        160        153        145
         PRIFA2                                       86         80         77         75         72         69         65         61         57         53
         PRCCDA                                       19         18         17         17         16         15         15         14         13         12
         PFC                                          56         55         54         53         51         50         48         47         44         42
         UPR3                                         25         24         22         21         20         18         17         15         14         12
         ERS                                         167        167        167        167        167        164        159        155        154        152
         GDB                                         163        142        125         79         55         46         43         18         16         11
         PRIDCO                                        8          8          7          7          6          5          5          4          3          2
          Total                                    $2,333     $2,279     $2,229     $2,161     $2,109     $2,054     $1,999     $1,916     $1,857     $1,790
         Principal
         GO                                         $395       $351       $392       $439       $334       $358       $378       $402       $428       $454
         PBA                                          91         66         70         74        100        102         96        103        107        100
         COFINA                                        0         19         48         78         98        120        159        203        248        294
         HTA1                                        131        140        126        136        142        150        146        155        164        169
         PRIFA2                                      124         48         50         51         54         62         86         64         72         74
         PRCCDA                                       12         12         13         14         14         15         16         17         17         18
         PFC                                          29         30         32         33         34         36         37         39         41         43
         UPR3                                         23         25         26         27         29         30         31         33         35         24
         ERS                                          (0)         0          --         0         50         70         80         19         22         29
         GDB                                         309        277        848        432        434        143         47        541          --       248
         PRIDCO                                       10         10         11         11         11         13         13         14         15         16
          Total                                    $1,124      $979      $1,614     $1,296     $1,299     $1,097     $1,091     $1,590     $1,149     $1,470
         Total debt service
         GO                                        $1,128     $1,066     $1,090     $1,118      $991       $999       $999       $999       $999       $999
         PBA                                          277        253        252        253       274        270        259        260        258        245
         COFINA                                       686        704        732        776       807        823        855        891        928        965
         HTA1                                         337        340        320        324       324        325        314        315        317        314
         PRIFA2                                       210        127        127        126       126        130        151        125        130        127
         PRCCDA                                        30         30         30         30        30         30         30         30         30         30
         PFC                                           86         86         86         85        85         85         85         86         86         85
         UPR3                                          48         48         48         48        48         48         48         48         48         36
         ERS                                          167        167        167        167       217        234        239        174        176        181
         GDB                                          472        419        973        512       488        189         91        559         16        259
         PRIDCO                                        18         18         18         18        16         18         18         18         18         18
          Total                                    $3,457     $3,257     $3,843     $3,457     $3,408     $3,152     $3,090     $3,506     $3,006     $3,261
     1     HTA includes Teodoro Moscoso Bridge
     2     PRIFA includes PRIFA BANs                                                                                                                           28
     3     UPR includes AFICA UPP
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 Debt sustainability

   The table below summarizes the annual cash flow available for debt service, and calculates implied debt capacity based on a
   range of interest rates and coverage ratios assuming an illustrative 35 year term
   •         Cash flow available for debt service incorporates (i) the payment of essential services, (ii) benefit of clawback revenues and (iii) a
             prudent contingency reserve
   •         In the Fiscal Plan summarized below, the cash flow after Measures but before Debt Service averages $787m per year during the period
             2017 - 2026
        Debt sustainability sensitivity analysis ($MM)
       Fiscal year ending June 30 ($ in millions)    2017        2018     2019     2020       2021      2022      2023       2024      2025      2026     '17 - '26 total

       Baseline Projections
       Revenues                                $18,952 $17,511 $16,407 $16,434 $16,494 $16,590 $16,746 $16,953 $17,204 $17,509                               $170,799
       Expenses                                (17,872) (18,981) (19,233) (19,512) (19,950) (20,477) (20,884) (21,310) (21,973) (22,316)                     (202,507)
        Cash Flow Excl. Debt Service & Measures 1,080    (1,470)  (2,826)  (3,077)  (3,456)  (3,886)  (4,139)  (4,357)  (4,769)  (4,808)                      (31,708)
       Impact of Measures
       Revenue Measures                                     --      924    1,381    1,384      1,531     1,633     1,740      1,752     1,766     1,785         13,897
       Expense Measures                                     --      951    2,012    2,415      2,983     3,156     3,255      3,357     3,724     3,830         25,683
        Total Measures                                      --    1,875    3,393    3,799      4,515     4,789     4,995      5,108     5,491     5,615         39,580
          Cash Flow Available for Debt Service      $1,080        $404     $567      $722    $1,059       $903      $857      $751       $722     $808          $7,873
       Illustrative Sustainable Debt Capacity Sizing Analysis
                                                                            Sensitivity Analysis: Implied Debt Capacity at 10% Contingency
                            Illustrative Cash Flow Available      $700     $750       $800       $850      $900      $950     $1,000   $1,050    $1,100
                                                      3.5%       12,600   13,500   14,400     15,301    16,201    17,101     18,001    18,901    19,801
       Sensitivity Analysis: PV Rate %                4.0%       11,759   12,599   13,439     14,278    15,118    15,958     16,798    17,638    18,478
                                                      4.5%       11,000   11,786   12,572     13,358    14,143    14,929     15,715    16,501    17,286

                                                                               Sensitivity Analysis: Implied Debt Capacity at 4% PV Rate
                            Illustrative Cash Flow Available      $700     $750      $800       $850       $900      $950      $1,000   $1,050   $1,100
                                                      5.0%       12,412   13,299   14,185     15,072    15,958    16,845     17,731    18,618    19,505
       Sensitivity Analysis: % Contingency           10.0%       11,759   12,599   13,439     14,278    15,118    15,958     16,798    17,638    18,478
                                                     15.0%       11,105   11,899   12,692     13,485    14,278    15,072     15,865    16,658    17,451



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VI. TSA LIQUIDITY




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         Weekly cash flow forecast through 2017FY
     Cash Flows Before Cliffs, Measures and Debt                         Fcst - 1      Fcst - 2      Fcst - 3      Fcst - 4     Fcst - 5      Fcst - 6      Fcst - 7      Fcst - 8     Fcst - 9      Fcst - 10     Fcst - 11     Fcst - 12     Fcst - 13     Fcst - 14     Fcst - 15     Fcst - 16
     (figures in $mm)                                                     3/17          3/24          3/31          4/7          4/14          4/21          4/28          5/5          5/12          5/19          5/26           6/2           6/9          6/16          6/23          6/30

1    General Collections                                                    $349          $254           $58           $71          $66          $760          $186           $63          $66          $334            $60           $44           $59         $134          $520            $57
2    Sales and Use Tax                                                         18            13          146              5           17            14          163              5           18              5          167              4             5           18            14           171
3    Excise Tax through Banco Popular                                          64              –             –            –           77              –             –            –             –           68              –             –             –           57              –             –
4    Rum Tax                                                                     –           10              –            –             –           11              –            –             –           18              –             –             –             –           22              –
5    Electronic Lottery                                                          –             –             –            –             –             –             –            –             –             –             –             –             –             –           14            37

6    Subtotal                                                               $432          $277          $204           $76         $161          $784          $349           $68          $84          $424          $227            $48           $64         $210          $570          $265

7    Employee/Judiciary Retirement Admin.                                        –             –             –            –           56              –             –            –           56              –             –             –             –           56              –             –
8    Teachers Retirement System                                                  –             –             –            –           70              –             –            –             –             –             –             –             –             –             –             –

9    Retirement System Transfers                                                 –             –             –            –        $127               –             –            –         $56               –             –             –             –          $56              –             –

10   Federal Funds                                                             93          110             83          123            95          119           123              95        126             93           123              49            99         107           107           121
11   Other Inflows                                                               9             –           11             –             –             9           11             –             –             –             –             11            –             –             –           11
12   Tax Revenue Anticipation Notes                                              –             –             –            –             –             –             –            –             –             –             –             –             –             –             –             –

13   Total Inflows                                                          $534          $388          $298          $199         $382          $912          $483          $163         $267          $517          $350          $108          $163          $373          $677          $397

14   Payroll and Related Costs                                                (18)          (51)         (120)          (23)         (95)          (62)         (101)          (35)         (90)          (65)          (96)          (18)          (22)          (95)          (56)         (106)
15   Pension Benefits                                                            –             –          (87)            –          (82)             –          (87)            –          (82)             –          (87)             –             –          (82)             –          (87)

16   Health Insurance Administration - ASES                                   (53)          (53)          (55)          (53)         (53)          (53)          (60)          (53)         (53)          (53)          (53)             (7)        (53)          (53)          (53)          (55)
17   University of Puerto Rico - UPR                                          (18)          (18)          (24)          (18)         (18)          (18)          (24)          (18)         (18)          (18)          (18)             (6)           –          (36)          (18)          (24)
18   Muni. Revenue Collection Center - CRIM                                   (21)             (8)           (8)          (8)           (8)           (8)           (8)          (8)           (8)           (8)           (8)           –             –          (15)             (8)        (26)
19   Highway Transportation Authority - HTA                                      –             –          (16)            –             –             –          (16)            –          (19)             –             –          (19)             –             –          (19)          (19)
20   Public Building Authority - PBA / AEP                                       (9)           (4)           (4)          (4)           (4)           (4)           (4)          (4)           (4)           (4)           –             (4)           (4)           (4)           (4)           (4)
21   Other Governmental Entities                                              (20)             (9)        (54)            25         (20)             (9)        (54)            25         (20)             (9)        (12)          (18)             (3)        (20)             (9)        (63)

22   Subtotal - Government Entity Transfers                                ($120)          ($92)       ($160)          ($57)      ($103)          ($92)       ($165)          ($57)      ($122)          ($92)         ($90)         ($54)         ($59)        ($128)        ($111)        ($191)

23   Supplier Payments                                                        (57)          (57)          (58)          (86)         (86)          (86)          (87)          (68)         (68)          (68)          (68)          (53)          (65)          (65)          (65)          (66)
24   Other Legislative Appropriations                                         (24)          (14)             (5)          (2)           –          (38)             (5)          (6)        (22)          (10)             (5)           (4)           –          (16)          (22)             (5)
25   Tax Refunds                                                              (12)          (13)             (4)          (1)           (6)        (39)             (4)          (7)           (4)           (4)        (31)             (3)           (1)           (4)           (6)        (41)
26   Nutrition Assistance Program                                             (30)          (70)          (22)          (35)         (40)          (54)          (36)          (22)         (43)          (56)          (36)          (16)          (37)          (30)          (70)          (20)
27   Other Disbursements                                                         –             –             –            –             –             –             –            –             –             –             –             (4)           –             –             –             (4)
28   Contingency                                                              (16)          (16)          (16)          (29)         (29)          (29)          (29)          (29)         (29)          (29)          (29)          (23)          (23)          (23)          (23)          (23)
29   Tax Revenue Anticipation Notes                                              –             –             –            –             –             –         (152)            –             –             –             –         (137)             –             –             –         (135)

30   Total Outflows                                                        ($277)        ($313)        ($472)        ($233)       ($440)        ($399)        ($665)        ($223)       ($459)        ($324)        ($442)        ($312)        ($208)        ($443)        ($353)        ($676)

31   Net Cash Flows Excluding Debt Service, Fiscal Cliffs and Measures      $257           $75         ($174)         ($34)        ($58)         $513         ($182)         ($60)       ($193)         $194           ($92)       ($204)          ($44)         ($70)        $324         ($279)

32   Bank Cash Position, Beginning (a)                                      $319          $576          $650          $477         $442          $384          $897          $716         $655          $462          $656          $564          $360          $316          $246          $570

33   Bank Cash Position, Ending (a)                                         $576          $650          $477          $442         $384          $897          $716          $655         $462          $656          $564          $360          $316          $246          $570          $291




                                                                                                                                                                                                                                                                                   31
                (a) Excludes clawback account.
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 Liquidity Principles for FY 2018


▪ No external short-term financing

▪ Rollout of Disbursement Authorization Group in order to enforce priority of payments through
   defined critical services (see Section VII)


▪ Consolidate dispersed treasury functions and put in place oversight over accounts not centrally
   managed


▪ Refine and regularly update 13 week cash analysis with detailed forecasting of cash receipts and
   disbursements


▪ Provide detailed daily performance projections, results, and variances




   1 Cash management authority is granted to AAFAF under Act 5-2017 and other relevant legislation       32
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VII. FINANCIAL CONTROL REFORM



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 Current state of financial controls




         § Cash is not centrally managed
           – No central office has visibility across all spending
           – Procurement agencies do not actively enforce terms and specifications
           – Limited coordinated effort to eliminate major cash outlays
           – Limited sweep of cash into general fund accounts
           – Cash disbursements is a manual and subjective process handled at Hacienda
           – No formal structure for reporting and release of audited financials

         § Target is to improve level of detail on forecasting and specificity around
           assumptions
           – “Top-down” approach, based on prior year’s Budget
           – Bank-to-book reconciliations are not often prepared in a timely manner
           – No tracking mechanisms exist to measure intra-year actual expenditures vs.
              budget on an accrual basis




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 Budget certification per PROMESA § 202


      3/13:                                                                                 6/30:                          7/1:
      ▪ Certification of Fiscal                                                             ▪ Last day for budget          ▪ Beginning of
        Plan                                                                                  certification per              FY2018
                                                                                              PROMESA § 202(e)

    March                            April                      May                       June                          July




      3/17:                       4/14:                 4/28:                 5/22:                   6/5:
      ▪ Set timeline for          ▪ Adopt procedures    ▪ Submit budget       ▪ Submit revised        ▪ Budget
        budget                      to deliver timely     and                   budgets and             certification
        certification per           statements and to     implementation        supporting
        PROMESA § 202               make public per       plan to Oversight     documents to
        (a)                         PROMESA §             Board                 Board, if
      ▪ Work with                   202(a)                                      necessary
        Oversight Board
        in designing a
        reporting
        structure and
        reporting forms




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 Quarterly budget compliance process per PROMESA § 203
                                                                                                                                 Proposed dates
 Quarterly Action     PROMESA section        Description                                                                         (mm/dd/yy)

                       ▪ § 203 (a)           ▪ Governor to submit a report describing: (1) the actual cash revenues,             ▪ Q1: 10/15/171
  Reporting1
                                               expenditures, and flows and (2) any other information requested by the Board      ▪ Q2: 1/16/18
                                                                                                                                 ▪ Q3: 4/16/18
                                                                                                                                 ▪ Q4: 7/16/18
                       ▪ § 203 (b)           ▪ Oversight Board to communicate the result of external auditing report to the      ▪ Q1: 11/10/17
  External auditing
                                               government and identify any inconsistencies with the projected revenues,          ▪ Q2: 2/12/18
                                               expenditures, or cash flows set forth in the certified Budget for such quarter    ▪ Q3: 5/10/18
                                                                                                                                 ▪ Q4: 8/10/18
                       ▪ § 203 (b)           ▪ Government to provide additional information regarding any inconsistencies        ▪ Q1: 11/20/17
  Correction of                                with the certified budget and implement remedial action to correct variances      ▪ Q2: 2/20/18
  variance                                                                                                                       ▪ Q3: 5/21/18
                                                                                                                                 ▪ Q4: 8/20/18
                       ▪ § 203 (c) and (d) ▪ Board to certify that the government is at variance with the applicable certified   ▪ Q1: 12/11/17
  Certification of                             Budget, and that the Government has initiated such measures as the Board          ▪ Q2: 3/12/18
  variance / or                                considers sufficient to correct it                                                ▪ Q3: 6/11/18
  Budget                                     ▪ If the variances are not corrected, the Board shall make appropriate reductions   ▪ Q4: 9/10/18
  reductions by                                in nondebt expenditures and may institute automatic hiring freezes in
  Board                                        instrumentalities and prohibit them from entering in any contract in excess of
                                               $100,000

                       ▪ § 203 (e)           ▪ The Board should decide whether the government or instrumentality has made        ▪ Ongoing
  Termination of                               the appropriate measures to reduce expenditures or increase revenues and
  budget                                       cancel the reductions
  reductions




  1 Per PROMESA, these dates must be 15 days after end of each quarter
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 Budget and Forecasting process

                                  § Certification process must adhere to PROMESA requirements
  Define a timeline for           § Should include, but not be limited to:
  each quarter’s                    – Certification process according to PROMESA requirements
  budget                            – Reporting, external auditing, and variance certifications


                                  § Budget should be prepared…
  Set guiding                       – Within the confines of the overall fiscal plan
  principles for budget             – As a positive cash balance with sufficient safety margin, due to lack
  and forecasting                     of access to capital markets


                                  § Use performance metrics, e.g.,:
  Set, update, and                  – Status? On track / Delayed / Completed
  track targets every               – Reached target?
  quarter                           – Above / below past instances?
                                  § Implement measures to correct variances from budget




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 Disbursement process


                                         § Set guidelines and principles
                                         § Work to match budget to disbursement authorizations
     Define disbursement                 § Identify an effective, centralized, and time-sensitive
     process                               disbursement process that involves the adequate authorities
                                              – Incorporate a mechanism that confirms alignment
                                                between revenues and expenses

                                         § Centralize into a single Treasury account with a corresponding
                                           database
     Implement a centralized
     disbursement digital                § Update and review periodically
     database                            § Set a minimum available liquidity threshold and an alert-
                                           system

                                         § Establish preventive measures
                                         § Implement detective procedures to correct problems before
     Set, update, and track                they arise
     metrics every quarter               § Design a process to correct variances from budget mid-year



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